Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 1 of 7 PageID #: 822
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 2 of 7 PageID #: 823
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 3 of 7 PageID #: 824
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 4 of 7 PageID #: 825
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 5 of 7 PageID #: 826
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 6 of 7 PageID #: 827
Case 5:10-cr-50015-TLB Document 183   Filed 09/13/10 Page 7 of 7 PageID #: 828
